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 EXHIBIT 72
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11 am Update - E Precinct
Where:         701-801-1211 ; 591-015-294
When:          Wed Jun 10 11 :00:00 2020 (America/Los_Angeles)
Until:         Wed Jun 10 12:00:00 2020 (America/Los_Angeles)
Organisers     "Nelson, Laurel" <"/o=exchangelabs/ou=exchange administrative group
               (fyd ibohf23spdlt )/en= recipients/ en =f1bbaebb6f0a4bed 808e030 3e8b53 ?to-nelson 11 ">
Required       "Nelson, Laurel" <laurel.nelson@seattle.gov>
Attendees:     "Fong, Michael" <michael.fong@seattle.gov>
               "Ranganathan , Shefali" <shefali.ranganathan@seattle.gov>
               "Sixkiller, Casey" <casey.sixkiller@seattle.gov>
               "Formas, Stephanie" <stephanie.formas@seattle.gov>
               "Auriemma, Anthony" <anthony.auriemma@seattle.gov>
               "Kline, Julie" <julie.kline@seattle.gov>
               "Aisenberg, Kathryn - MOS" <kathryn.aisenberg2@seattle.gov>
               "Apreza, Ernesto" <ernesto.apreza@seattle.gov>
               "Best, Carmen" <carmen.best@seattle.gov>
               "Mahaffey, Thomas" <thomas.mahaffey@seattle.gov>
               "Diaz, Adrian" <adrian .diaz@seattle.gov>
               "Scoggins, Harold D" <harold.scoggins@seattle.gov>
               "Aguirre, Jesus" <jesus.aguirre@seattle.gov>
               "Hara, Marni" <mami .hara@seattle.gov>
               "Goings, Calvin" <calvin .goings@seattle.gov>
               "Zimbabwe, Sam" <sam .zimbabwe@seattle.gov>
               "Mantilla, Andres" <andres.mantilla@seattle.gov>
               "Neafcy, Kenneth" <kenneth.neafcy@seattle .gov>
Optional       "Grove , Kiersten" <kiersten.grove@seattle.gov>
Attendees:     "Reed , Michelle" <michelle.reed@seattle.gov>
               "Worcester, Ned" <ned .worcester@seattle.gov>
               "Buechler, Chad M" <chad .buechler@seattle.gov>
               "Rivera, Maritza" <maritza .rivera@seattle.gov>
Attachments:   2020-06-10 6am Call Notes.docx (23.91 kB)




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6/10 6AM Call Notes

NEXT CALL: 11AM

Overnight: There were about 15-30 people in front of the precinct overnight. Yesterday, there
was a larger protest at Cal Anderson that ended with a march to City Hall and back to Cal
Anderson.

This morning: There are about 50 people there this morning. Early morning crowd very calm
and welcomes the boarding up of the 2nd floor and the defueling the tank. There is no trash on
the street. The site is very clean. They are very invested in having a peaceful atmosphere.
They would like to have the rear door on Pine Ave locked (currently unlocked) and have been
manning it to keep people out. There are no new perimeter barriers . There are a row of 10
tents on 12th ave and a couple on 13th

There was some discussion about bringing in a professional negotiator.

More large protests expected this weekend



OVERALL OBJECTIVES: Continuing the existing footprint of peaceful
demonstration and rights
1. Pursue physical modifications to the footprint
   1.1. Get out non-SDOT barriers. Ensure coordination with SPD to remove the bike racks and
         rented barriers and replace them with orange barricades/water barriers (LEAD: SDOT)
   1.2. Pivot this into a street closure. Make it into a regular street closu re (so they don't feel
         like they need to guard the edges) (LEAD : SDOT)
2. Secure the building. See what is going on in the building.
   2.1. Assess if there is anything that needs to be retrieved inside the building. (LEAD: SPD)
   2.2. Provide the City team any information on armed individuals and if they are still there.
         (LEAD; SPD)
   2.3. Have fire do a life safety check inside the building making sure the fire suppression
         inside the building is operational. (Lead: SCOGGINS) HOLDING
   2.4. Have FAS secure the building and defuel the generator. (Lead: FAS) HOLDING.
3. Encourage conversations between protest groups and/or the City. One group has released
   list of 25 demands. None of which includes the East Precinct. City needs to help encourage
   the conversation between the group that provided the demand and other protest groups.
   3.1. Identity who should be on the strategy session . (LEAD: CASEY)
   3.2. Identify clear parameters for City' s position to negotiate . (LEAD: CASEY)
   3.3. Have an internal discussion about the list of demands. (LEAD: CASEY)
   3.4. Identify the protest leaders. (LEAD: CASEY)
   3.5 . Should we bring in a negotiator or is the City the right intermediary?




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STATED DEPARTMENT DESIRED GOALS
  •    SOOT: a little concerned about sending their teams back in without having a game plan.
       Would like to get lights back on and barriers/barricades removed.
  •    Fire: Access and egress. Be able to navigate that area.
  •    FAS: Concerns in sending staff into area. Remediate the diesel and secure the building.
  •    SPD: Get Officers back in the building. Get any items left inside the building.
  •    SPR: Don't move them to the park.




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